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                              1       SAMUEL R. MAIZEL (SBN 189301)
                                      TANIA M. MOYRON (SBN 235736)
                              2       ARTHUR H. RUEGGER (Admitted Pro Hac Vice)
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                              3       601 South Figueroa Street, Suite 2500
                                      Los Angeles, California 90017-5704
                              4       Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                                      Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
                              5
                                      ANDREW T. SOLOMON (Admitted Pro Hac Vice)
                              6       SOLOMON & CRAMER LLP
                                      1441 Broadway, Ste. 6026
                              7       New York, NY 10018
                                      Tel: (212) 884-9102
                              8       Email: asolomon@solomoncramer.com

                              9       Attorneys for Trustee and Trust Board
NEW YORK, NEW YORK 10018




                             10                                 UNITED STATES BANKRUPTCY COURT
 1441 BROADWAY, STE. 6026
  SOLOMON & CRAMER LLP




                                                                   CENTRAL DISTRICT OF CALIFORNIA
                             11                                    SAN FERNANDO VALLEY DIVISION
       (212)884-9102




                             12   In re:                                                     Lead Case No.: 1:17-bk-12408-MB
                                                                                             Jointly administered with:
                             13   ICPW Liquidation Corporation, a California                 1:17-bk-12409-MB Chapter 11 Cases
                                  corporation,1
                             14                 Debtor and Debtor in Possession. STIPULATION OF SETTLEMENT

                             15                                                              [RELATES TO DOCKET NOS. 438 & 551]
                                  In re:
                             16
                                  ICPW Liquidation Corporation, a Nevada
                             17   corporation,2
                                                Debtor and Debtor in Possession.
                             18

                             19         Affects:
                             20    Both Debtors
                             21    ICPW Liquidation Corporation, a California
                                    corporation
                             22
                                   ICPW Liquidation Corporation, a Nevada
                             23     corporation
                             24
                                  1
                                      Formerly known as Ironclad Performance Wear Corporation, a California corporation (“ICPW CA”).
                             25   2
                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW NV;” and together with
                             26   ICPW CA, “ICPW”).
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                              1                                                  RECITALS
                              2               WHEREAS, on April 23, 2018, the Court approved a Stipulation on Motion to Estimate
                              3
                                  Claims Nos. 7 and 8 filed by Jeffrey Cordes and William Aisenberg Pursuant to 11 U.S.C. §
                              4
                                  502(C) [Docket No. 551] (the “Stipulation”) between Matthew Pliskin (the “Trustee”), the trustee
                              5
                                  under the trust (the “Trust”) created pursuant to the Debtors and Official Committee of Equity
                              6

                              7   Security Holders Joint Plan of Liquidation Dated February 9, 2018 (the “Plan”), and that certain

                              8   trust agreement dated as of February 28, 2018, on the one hand, and QBE Insurance Corporation,

                              9   Jeffrey Cordes, and William Aisenberg, on the other (the “Claimants”);
NEW YORK, NEW YORK 10018




                             10
 1441 BROADWAY, STE. 6026
  SOLOMON & CRAMER LLP




                                              WHEREAS, pursuant to the Stipulation, the Trustee reserved the amount of $546,313.50
                             11
       (212)884-9102




                                  (the “Funds”) in a segregated interest-bearing account (the “Reserve”) until further order by the
                             12
                                  Court for the disputed claims asserted by QBE Insurance Corporation, Jeffrey Cordes, and
                             13
                                  William Aisenberg (the “Claims”);
                             14

                             15               WHEREAS, the parties to the Stipulation have settled their dispute in the pending

                             16   arbitration proceedings as follows: a mutual release of claims, dismissal of all pending claims in
                             17   this Bankruptcy Action and in the various arbitrations, no admission of liability, and a payment to
                             18
                                  the Trustee for the benefit of the Trust of $2,400,000 of which $250,000 shall be deemed satisfied
                             19
                                  through a release of the funds held in Reserve (the “Settlement”). Pursuant to the Settlement, the
                             20
                                  Claimants have consented to the release and discharge of the Reserve.
                             21

                             22               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED:

                             23               1. The Trustee’s obligation to reserve the Funds is discharged and, thus, the Trustee is no

                             24                  longer required to hold the Funds in the Account;
                             25

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                              1               2. The Claims asserted by the Claimants against ICPW are hereby dismissed with
                              2                  prejudice and Claims Nos.7 and 8 are hereby deemed withdrawn;
                              3
                                              3. The Trustee’s claims against the Claimants asserted in the Complaint in Adversary
                              4
                                                 Proceeding No. 1:18-ap-01011-MB are hereby dismissed with prejudice.
                              5

                              6
                                   William M. Aisenberg and Jeffrey Cordes             The Trustee and the Trust Board
                              7
                                   By their counsel of record                          By their counsel of record
                              8    FOLEY GARDERE                                       SOLOMON & CRAMER LLP
                                   FOLEY & LARDNER LLP
                              9
                                   By: ________________________________                By: ________________________________
NEW YORK, NEW YORK 10018




                             10           Todd A. Murray                                      Andrew T. Solomon
 1441 BROADWAY, STE. 6026
  SOLOMON & CRAMER LLP




                                          Shiva Delrahim Beck
                             11
       (212)884-9102




                                   The Trustee and the Trust Board                     QBE Insurance Corporation
                             12    By their counsel of record                          By their counsel of record
                                   DENTONS US LLP                                      FORAN GLENNON PALANDECH PONZI &
                             13                                                        RUDLOFF PC
                             14    By: ___/s/Tania Moyron________________              By: ________________________________
                                          Samuel R. Maizel                                    Susan N.K. Gummow
                             15           Tania Moyron
                             16

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    1                2. The Claims asserted by the Claimants against ICPW are hereby dismissed with

    2                   prejudice and Claims Nos.7 and 8 are hereby deemed withdrawn;
    3                                                                                                    y
                     3. The Trustee's claims against the Claimants asserted in the Complaint in Adversar
    4
                        Proceeding No.1:18-ap-01011-MB are hereby dismissed with prejudice.
    5

    6
         William M.Aisenberg and Jeffrey Cordes               The Trustee and the Trust Board
    7                                                         By their counsel of record
         By their counsel of record
         FOLEY GARDERE                                        SOLOMON & CRAMER LLP
     8
         FOLEY & LARDNER LLP
     9
         By:          6%;7
                     2- 'Y
                      Todd A.
                                                               By:
                                                                      Andrew T.Solomon
    10
                       Shiva Delr   in Beck
    11
         The Trustee and the Trust Board                       QBE Insurance Corporation
    12   By their counsel of record                            By their counsel of record
         DENTONS US LLP                                        FORAN GLENNON PALANDECH PONZT &
    13                                                         RUDLOF PC

    14   By:                                                   By:
                      Samuel R.Maize]                                 Susan N.K.Gummow
    15                Tania Moyron
    16

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the document entitled (specify): STIPULATION OF SETTLEMENT will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the document will be served by the court via NEF and hyperlink to the document. On (date) August 2,
2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Destiny N Almogue destiny.almogue@skadden.com, candice.spoon@skadden.com
       Shiva D Beck sbeck@foley.com, jcharrison@foley.com
       Ron Bender rb@lnbyb.com
       Cathrine M Castaldi ccastaldi@brownrudnick.com
       Lisa R Chandler lisa.chandler@ipfs.com
       Russell Clementson russell.clementson@usdoj.gov
       Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
       Natalie B. Daghbandan natalie.daghbandan@bryancave.com,
          raul.morales@bryancave.com;theresa.macaulay@bryancave.com
       Steven M Gluck sgluck@juno.com
       Matthew A Gold courts@argopartners.net
       Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
       Jeffrey A Krieger jkrieger@ggfirm.com,
          kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
       Samuel R Maizel samuel.maizel@dentons.com,
          alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
          dentons.com
       Krikor J Meshefejian kjm@lnbrb.com
       Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
       S Margaux Ross margaux.ross@usdoj.gov
       Thomas C Scannell tscannell@gardere.com, acordero@gardere.com
       Susan K Seflin sseflin@brutzkusgubner.com
       Arjun Sivakumar asivakumar@brownrudnick.com
       Andrew T Solomon asolomon@solomoncramer.com
       John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
       Sharon Z. Weiss sharon.weiss@bclplaw.com, raul.morales@bclplaw.com
       Douglas Wolfe dwolfe@asmcapital.com

                                                                                       0     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 2, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                       IZI   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 2, 2019, I served the
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                       IZI   Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 2, 2019             Christina O'Meara                                                   /s/Christina O'Meara
 Date                           Printed Name                                                    Signature




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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SERVED BY U.S. MAIL:

Secured Creditor                                    Counsel to Radians Wareham                          U.S. Securities and Exchange
Radians Wareham Holding, Inc.                       Holdings                                            Commission
Attn: Mike Tutor, CEO                               E. Franklin Childress, Jr.                          Attn: Bankruptcy Counsel
5305 Distriplex Farms                               Baker, Donelson, Bearman, Caldwell                  444 South Flower Street, Suite 900
Memphis, TN 38141                                   & Berkowitz, PC                                     Los Angeles, CA 90071-9591
                                                    165 Madison Ave, Suite 2000
                                                    Memphis, Tennessee 38103

CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626

Governmental Agencies
Internal Revenue Service                            Franchise Tax Board                                 State Board of Equalization
P.O. Box 7346                                       Bankruptcy Section, MS: A-340                       Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                         P.O. Box 2952                                       P.O. Box 942879
                                                    Sacramento, CA 95812-2952                           Sacramento, CA 94279-0029

Employment Development Dept.                        Office of Unemployment                              US Department of Justice
Bankruptcy Group MIC 92E                            Compensation Tax Services                           Office of the Attorney General of the
P.O. Box 826880                                     Department of Labor and Industry                    US
Sacramento, CA 94280-0001                           Commonwealth of Pennsylvania                        950 Pennsylvania Avenue, NW
                                                    651 Boas Street, Room 702                           Washington, DC 20530-0001
                                                    Harrisburg, PA 17121

United States Attorney’s Office                     Wendi A. Horwitz                                    Office of the Attorney General
Central District of California                      Deputy Attorney General                             Consumer Law Section
312 North Spring Street, Suite 1200                 Department of Justice                               Attn: Bankruptcy Notices
Los Angeles, CA 90012                               Office of the Attorney General                      455 Golden Gate Ave., Suite 11000
                                                    300 South Spring Street, Suite 1702                 San Francisco, CA 94102
                                                    Los Angeles, CA 90013

Xavier Baccera                                      California State Board of Pharmacy                  Department of Justice
Attorney General of California                      1625 North Market Boulevard                         Office of the CA Attorney General
California Department of Justice                    Sacramento, CA 95834                                300 South Spring Street, Floor 9
1300 “I” Street                                                                                         Los Angeles, CA 90013
Sacramento, CA 95814

Kenneth Wang                                        Internal Revenue Service                            State of California Franchise Tax
Department of Justice                               300 North Los Angeles Street                        Board
Office of the CA Attorney General                   Los Angeles, CA 90012                               300 South Spring Street, #5704
300 South Spring Street                                                                                 Los Angeles, CA 90013
Los Angeles, CA 90013

Employment Development Dept.                        Internal Revenue Service                            California Secretary of State
722 Capitol Mall                                    600 Arch Street                                     1500 11th Street
Sacramento, CA 95814                                Philadelphia, PA 19101                              Sacramento, CA 95814

Securities and Exchange Commission
200 Vesey Street, #400
New York, NY 10281




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Trust Board - SERVED BY EMAIL
Patrick W. O'Brien                                  Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                   1524 N. Astor Street                                938 Duncan Avenue
Lake Forest, IL 60045-4707                          Chicago, IL 60610                                   Manhattan Beach, CA 90266
Email: obrien.pat@me.com                            Email: rlchez@rcn.com                               Email: scott.jarus@verizon.net

Trustee - SERVED BY EMAIL
Matthew Pliskin
2718 West Terrace Drive
Tampa, Florida 33609
Email:
matthew@icpwliquidation.com




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
